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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       October 25, 2021


                                                       MEMO ENDORSED
Hon. Katherine Polk Failla
United States District Court
40 Foley Square
New York, NY 10007

       Re:     United States v. Muhammed Bashorun, S5 20 Cr. 3 (KPF)

Dear Judge Failla:

        On October 18, 2021, the defendant, Muhammed Bashorun, was arraigned in Magistrate
Court on the charges in the above-captioned case. The Government conferred with the defendant’s
attorney, Matthew Myers, about scheduling an initial pretrial conference. Mr. Myers informed the
Government that he is about to begin a lengthy trial before Judge Oetken, which makes scheduling
an initial pretrial conference in the near future difficult. Accordingly, the parties respectfully
request that the Court schedule an initial pretrial conference for the first or second week of
December. The Government will begin producing discovery beforehand. The Government also
respectfully requests that the Court exclude time under the Speedy Trial Act until the initial pretrial
conference, so the parties can produce and review discovery and begin discussing a potential
pretrial resolution to this case. The defendant does not oppose the exclusion.


                                               Respectfully,

                                               DAMIAN WILLIAMS
                                               United States Attorney



                                           by: ___/s/ Thomas Burnett______________
                                               Thomas S. Burnett
                                               Assistant United States Attorney
                                               (212) 637-1064
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The Court is in receipt of the Government's above letter.

The parties are ORDERED to appear for a pretrial conference in this
matter on December 7, 2021, at 3:00 p.m. The conference will
proceed by video. Public dial-in information and instructions for
video participants will be sent separately in advance of the
conference.

It is further ORDERED that time is excluded under the Speedy Trial
Act between November 1, 2021, and December 7, 2021. The Court
finds that the ends of justice served by excluding such time
outweigh the interests of the public and Mr. Bashorun in a speedy
trial because it will permit the parties to produce and review
discovery and discuss possible pretrial resolutions of this case.

The Clerk of Court is directed to terminate the motion at docket
entry 255.


                                         SO ORDERED.
Dated:   October 25, 2021
         New York, New York


                                         HON. KATHERINE POLK FAILLA
                                         UNITED STATES DISTRICT JUDGE
